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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION
 BOARD OF TRUSTEES, SHEET METAL
  WORKERS’ NATIONAL PENSION FUND,
 BOARD OF TRUSTEES, INTERNATIONAL
  TRAINING INSTITUTE FOR THE SHEET
  METAL AND AIR CONDITIONING
  INDUSTRY,                                CIVIL ACTION NO. 1:19-cv-324
 BOARD OF TRUSTEES, NATIONAL
  STABILIZATION AGREEMENT OF THE
  SHEET METAL INDUSTRY TRUST FUND
 BOARD OF TRUSTEES, SHEET METAL
  OCCUPATIONAL HEALTH INSTITUTE            Additional Required Service under 29
  TRUST, and the                           U.S.C. § 1132(h) to:
 BOARD OF TRUSTEES, NATIONAL
  ENERGY MANAGEMENT INSTITUTE              U.S. Department of Labor
  COMMITTEE                                Attn: Assistant Solicitor
                                            for Plan Benefits Security
 8403 Arlington Boulevard                  200 Constitution Ave., N.W.
 Fairfax, Virginia 22031                   Washington, DC 20002

 Plaintiffs,                                      U.S. Department of Treasury
                                                  Attn: Secretary of the Treasury
 v.                                               1500 Pennsylvania Avenue, NW
                                                  Washington, D.C. 20220
 MJH ENERGY CONSULTING, INC. D/B/A
  MJH MECHANICAL

 26-16 Skillman Avenue
 Long Island City, NY 11101

 Agent for Service:
 United States Corporation Agents, Inc.
 7014 13th Avenue, Suite 202
 Brooklyn, NY 11228

 Defendant.


                                          COMPLAINT

       Plaintiffs, the separate and individual Boards of Trustees of the Sheet Metal Workers’

National Pension Fund (“NPF”), the International Training Institute for the Sheet Metal and Air



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Conditioning Industry (“ITI”), the National Stabilization Agreement of the Sheet Metal Industry

Trust Fund (“SASMI”), the Sheet Metal Occupational Health Institute Trust (“SMOHIT”), and the

National Energy Management Institute Committee (“NEMIC” and together with NPF, ITI,

SASMI, and SMOHIT referred to as “the Funds”), hereby complain as follows:

                                            Introduction

       1.      This is a civil action brought by employee benefit plans/trust funds or joint labor

management organizations, and by the Trustees of the Funds, pursuant to Sections 502(a)(3),

(d)(1), (g)(2) and 515 of the Employee Retirement Income Security Act of 1974, as amended

(“ERISA”), 29 U.S.C. §§ 1132(a)(3), (d)(1), (g)(2) and 1145, and Section 301(a) of the Labor

Management Relations Act of 1947, as amended (“LMRA”), 29 U.S.C. § 185. The Funds seek a

monetary judgment against Defendant awarding delinquent contributions, accrued interest,

liquidated damages, audit fees, and attorneys’ fees and costs, through the date of judgment, as well

as those amounts that become due and owing through the date of judgment, pursuant to Sections

502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, Section 301 of the LMRA, 29 U.S.C. § 185,

the collective bargaining agreement, and the Trust Document governing the Funds.


                                      Jurisdiction and Venue

       2.      Jurisdiction is conferred upon this Court by Sections 502(e) and (f) of ERISA, 29

U.S.C. §§ 1132(e) and (f), and Section 301(c) of the LMRA, 29 U.S.C. § 185(c). Jurisdiction also

lies under 28 U.S.C. § 1331.

       3.      Venue is proper under Section 502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2), and

Section 301(a) of the LMRA, 29 U.S.C. § 185(c), as the Plaintiff Funds are administered in this

district with their principal place of business in Fairfax, Virginia.




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        4.     Pursuant to Section 502(h) of ERISA, 29 U.S.C. § 1132(h), a copy of this

Complaint will be served upon the Secretary of United States Department of Labor and the

Secretary of the United States Department of the Treasury by certified mail on or about the date

of filing.


                                              Parties

        5.     Plaintiff Board of Trustees, Sheet Metal Workers’ National Pension Fund (“NPF”)

is the collective name of the trustees of the Sheet Metal Workers’ National Pension Fund. The

NPF is an employee pension benefit plan within the meaning of Sections 3(2) and (3) of ERISA,

29 U.S.C. §§ 1002(2), (3), and a multiemployer plan within the meaning of Section 3(37)(A) of

ERISA, 29 U.S.C. § 1002(37)(A), established and maintained for the purpose of providing pension

benefits to eligible employees. The NPF is, and at all times material herein has been, a jointly

administered trust fund established pursuant to Section 302(c)(5) of the LMRA, 29 U.S.C. §

186(c)(5). The Trustees of the NPF are duly authorized Trustees whose duty it is to administer the

NPF for the benefit of the participants and beneficiaries of the NPF. The Trustees are “fiduciaries”

within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and are empowered

to bring this action pursuant to Sections 502(a)(3) and 502(g)(2) of ERISA, 29 U.S.C.

§§ 1132(a)(3) and 1132(g)(2). The trust, its Trustees and plan are individually or jointly referred

to as “NPF” in this Complaint. The NPF is administered at 8403 Arlington Boulevard, Fairfax,

Virginia 22031.

        6.     Plaintiff Board of Trustees, International Training Institute of the Sheet Metal and

Air Conditioning Industry (“ITI”) is the collective name of the trustees of the International

Training Institute of the Sheet Metal and Air Conditioning Industry. ITI is an employee welfare

benefit plan within the meaning of Sections 3(1) and (3) of ERISA, 29 U.S.C. §§ 1002(1), (3), and


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a multiemployer plan within the meaning of Section 3(37)(A) of ERISA, 29 U.S.C. § 1002(37)(A),

established and maintained for the purpose of providing apprenticeship training and educational

benefits to eligible employees. ITI is, and at all times material herein has been, a jointly

administered trust fund established pursuant to Section 302(c)(6) of the LMRA, 29 U.S.C. §

186(c)(6). The Trustees of ITI are duly authorized Trustees whose duty it is to administer the plan

for the benefit of the participants and beneficiaries of ITI. The Trustees of ITI are “fiduciaries”

within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and are empowered

to bring this action pursuant to Sections 502(a)(3) and 502(g)(2) of ERISA, 29 U.S.C.

§§ 1132(a)(3) and 1132(g)(2). The trust, its Trustees and plan are individually and jointly referred

to as “ITI” in this Complaint. ITI is administered at 8403 Arlington Boulevard, Fairfax, Virginia

22031.

         7.    Plaintiff Board of Trustees, National Stabilization Agreement of the Sheet Metal

Industry Trust Fund (“SASMI”) is the collective name of the trustees of the National Stabilization

Agreement of the Sheet Metal Industry Trust Fund. SASMI is an employee welfare benefit plan

within the meaning of Section 3(2), (3) of ERISA, 29 U.S.C. § 1002(1), (3), and a multiemployer

plan within the meaning of Section 3(37)(A) of ERISA, 29 U.S.C. § 1002(37)(A), established and

maintained for the purpose of providing benefits to eligible employees. SASMI is, and at all times

material herein, has been a jointly administered trust fund established pursuant to Section 302(c)(5)

of the LMRA, 29 U.S.C. § 186(c)(5). The trustees of SASMI are duly authorized Trustees whose

duty it is to administer SAMSI for the benefit of the participants and beneficiaries of SASMI. The

trustees of SASMI are “fiduciaries” within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C.

§ 1002(21)(A), and are empowered to bring this action pursuant to Sections 502(a)(3) and

502(g)(2) of ERISA, 29 U.S.C. §§ 1132(a)(3) and 1132(g)(2). The trust, its trustees and plan are



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individually or jointly referred to as “SASMI” in this Complaint. SASMI is administered at 8403

Arlington Boulevard, Fairfax, Virginia 22031.

       8.      Plaintiff Board of Trustees, Sheet Metal Occupational Health Institute Trust

(“SMOHIT”) is collectively the name of the trustees of the Sheet Metal Occupational Health

Institute Trust. SMOHIT a jointly labor-management health and safety organization serving the

sheet metal industry established under Section 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5). The

trust and its trustees are individually and jointly referred to as “SMOHIT” in this Complaint.

SMOHIT is administered at 8403 Arlington Boulevard, Fairfax, Virginia 22031.

       9.      Plaintiff Board of Trustees, National Energy Management Institute Committee

(“NEMIC”) is the collective name of the trustees of the National Energy Management Institute

Committee. NEMIC is a labor management committee established pursuant to Section 302(c)(9)

of the LMRA, 29 U.S.C. § 186(c)(9), that is funded by contributions under various collective

bargaining agreements. The committee and its trustees are jointly and severally referred to as

“NEMIC” in this Complaint. NEMIC is administered at 8403 Arlington Boulevard, Fairfax,

Virginia 22031.

       10.     The Trustees of the Plaintiff Funds bring this action in their collective names or, as

necessary or appropriate, in the name of the respective trusts or plans, and their participants, and

beneficiaries pursuant to Federal Rule of Civil Procedure 17.

       11.     At all times relevant to this action, Defendant MJH Energy Consulting, Inc. doing

business as MJH Mechanical (“MJH”), has been an employer within the meaning of 29 U.S.C. §

152(2) and Section 3(5) of ERISA, 29 U.S.C. § 1002(5), and has been engaged in an industry

affecting commerce within the meanings of Sections 3(11) and (12) of ERISA, 29 U.S.C. §§

1002(11) and (12). Upon information and belief, at all times relevant to this action, Defendant has



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been incorporated in the state of New York with a principal place of business at 26-16 Skillman

Avenue, Long Island City, NY 11101.

                                      Factual Background

        12.     At all times relevant to this action, Defendant employed employees represented for

the purposes of collective bargaining by the International Association of Sheet Metal, Air, Rail

and Transportation Union (formerly known as the Sheet Metal Workers’ International

Association), Local Union 28 (“Local 28” or the “Union”), a labor organization representing

employees in an industry affecting interstate commerce.

        13.     At all times relevant to this action, Defendant was signatory to, and bound by, a

collective bargaining agreement (“Agreement” or “CBA”) with the Union. Pursuant to the

Agreement, Defendant is obligated to submit monthly remittance reports and fringe benefit

contributions to NPF, ITI, SASMI, SMOHIT, and NEMIC for all hours worked or paid on behalf

of Defendant’s covered employees within the jurisdiction of Local 28.

        14.     Pursuant to the Agreement, Defendant is obligated to abide by the terms and

conditions of the Trust Agreements establishing the Funds, including any amendments thereto and

policies and procedures adopted by the Boards of Trustees (“Trust Documents”).

        15.     Payments due to the Funds are calculated separately for each Fund on remittance

reports required to be prepared monthly by each contributing employer. This is a self-reporting

system and the Funds rely on the honesty and accuracy of the employers in reporting hours worked

and paid, and in reporting the contributions owed for work by employees.

        16.     Without the information contained in the remittance reports, the Funds cannot

determine the entire amount of the monthly contributions due to the Funds or the employees’

eligibility for benefits.



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       17.     The completed remittance reports and accompanying contribution payments must

be submitted to the Funds no later than the twentieth (20th) day after the end of each month during

which covered work was performed and are delinquent if received thereafter.

       18.     Article V, Section 3 of the governing Trust Agreement and Section V of NPF’s

Procedures for the Collection of Contributions both provide that the Funds may audit a

contributing employer for the purposes of assuring the accuracy of reports and ensuring that such

employer has remitted the appropriate amount of contributions to the Funds.

       19.     Pursuant to Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, the

Agreement, the Trust Documents, and Section 301 of the LMRA, 29 U.S.C. § 185, if Defendant

fails to timely submit the contractually required remittance reports and contribution payments, and

the Funds file a lawsuit to recover the unpaid contributions, MJH is required to pay the following

amounts to the Funds:

               a.       Interest on the delinquent contributions at a rate of .0233% per day,

compounded daily;

               b.       Liquidated damages equal to the greater of: fifty dollars ($50.00) or ten

percent (10%) of the contributions due for each month of contributions that the Company fails to

pay within 30 days after the due date, but pays before any lawsuit is filed;

               c.       Liquidated damages equal to the greater of interest on the delinquent

contributions at the above rate or liquidated damages equal to twenty percent (20%) of the

delinquent contributions owed upon commencement of litigation; and

               d.       The attorneys’ fees and costs incurred by the Funds in pursuing the

delinquent amounts, including the attorneys’ fees and costs in this action.




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       20.     For the months of February 2016 through December 2017, MJH employed

employees within the jurisdiction of Local 28 for whom contributions were owed to the Funds and

failed to timely make all the required contributions, despite its obligation to do so under the

Agreement, Trust Documents, Section 515 of ERISA, 29 U.S.C. § 1145, and Section 301 of the

LMRA, 29 U.S.C. § 185.

                                              Count I

       21.     Plaintiffs reallege and incorporate Paragraphs 1 through 20.

       22.     This claim arises under Sections 502(a)(3) and 515 of ERISA, 29 U.S.C. §§

1132(a)(3) and 1145, and Section 301 of the LMRA, 29 U.S.C. § 185.

       23.     Defendant is obligated, under the terms of the Agreement, to provide contributions

to the Funds on behalf of its covered employees. Defendant has failed and refused to fulfill its

contractual obligations for owed contributions and resulting interest and liquidated damages as

demonstrated by a payroll audit conducted on Defendant by the Funds for the period of February

2016 through December 2017. The audit revealed that Defendant owes contributions, interest, and

liquidated damages to the Funds. While contributions remain unpaid, interest continues to accrue

on these delinquent contributions and audit fees have been assessed pursuant to the Funds’

governing documents.

       24.     The audit revealed that MJH owes contributions in the amount of $29,096.62 for

the period of February 2016 through December 2017. In addition to the contribution amounts

found due, MJH owes $4,404.85 in interest (calculated through March 22, 2019), $5,922.41 in

liquidated damages, and $1,230 in audit testing fees.

       25.     Additionally, MJH late paid contributions for the months of April 2016 through

June 2016 incurring $2,977.49 in liquidated damages.



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         26.   In total, MJH owes $43,631.37 to the Funds for unpaid contributions, interest,

liquidated damages, and testing fees.

         27.   Under Section 502(g) of ERISA, 29 U.S.C. § 1132(g), Plaintiffs are entitled to

recover all costs of this action from Defendant, including reasonable attorneys’ fees and court

costs.

         28.   Prior to commencing this lawsuit, the Funds sent letters and attempted to directly

contact Defendant to obtain the outstanding contributions and reports from Defendant. Defendant

has not responded to the Funds’ correspondence.

         29.   Defendant’s continued failure to pay the amounts due have caused irreparable harm

to the plan participants in the form of loss of earnings and expenses of the Funds, endangered the

eligibility of covered members’ pension benefits, and other harm. Defendant’s failure and refusal

to comply with its obligations creates an atmosphere in the industry that encourages other

employers to do the same

         WHEREFORE, Plaintiffs request a judgment against Defendant for all amounts and

reports due to the Funds as follows:

         1.    Declare that Defendant is delinquent in timely remitting owed contributions to the

Funds pursuant to the Agreement;

         2.    Award Plaintiffs on behalf of the Funds a judgment for Defendant’s delinquent

contributions found to be due by the audit for the period of February 2016 through December 2017

in the total amount of $29,096.62;

         3.    Enter judgment against Defendant for interest on all delinquent contributions at a

rate of .0233% per day, compounded daily, from the date due until the date paid or the date of the

judgment in the amount of at least $4,404.85;



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       4.     Enter judgment against Defendant for liquidated damages equal to the greater of

interest on the delinquent contributions calculated at the above rate, or 20% of the delinquent

contributions in the amount of $5,922.41;

       5.     Enter judgment against Defendant for liquidated damages equal to the greater of

interest on the delinquent contributions calculated at the above rate, or 20% of the late paid

contributions in the amount of $2,977.49;

       6.     Enter judgment for audit testing fees in the amount of $1,230.00;

       7.     Enter judgment for all attorneys’ fees and costs incurred by the Funds in pursuing

the delinquent amounts as provided by Section 502(g) of ERISA; and

       8.     Award such other relief as the Court deems just and proper.



                                    Respectfully Submitted,


                                           /s/ Diana M. Bardes
                                    Diana M. Bardes
                                    Mooney, Green, Saindon, Murphy & Welch, P.C.
                                    1920 L Street, NW, Suite 400
                                    Washington, D.C. 20036
                                    (202) 783-0010
                                    (202) 783-6088 facsimile
                                    dbardes@mooneygreen.com
                                    Counsel for Plaintiff Funds


March 20, 2019




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                CERTIFICATE OF SERVICE UNDER 29 U.S.C. § 1132(h)

I hereby certify that on this 20th day of March, 2019, a true and correct copy of the foregoing
COMPLAINT UNDER ERISA FOR DELINQUENT CONTRIBUTIONS, INTEREST,
LIQUIDATED DAMAGES, AUDIT TESTING FEES, ATTORNEYS FEES, AND COSTS was
served via certified mail on:

       U.S. Department of Labor
       Attn: Assistant Solicitor for Plan Benefits Security
       200 Constitution Ave., N.W.
       Washington, DC 20002

       U.S. Department of Treasury
       Attn: Secretary of the Treasury
       1500 Pennsylvania Avenue, NW
       Washington, D.C. 20220


                                                      ____/s/_Diana M. Bardes_______
                                                         Diana M. Bardes




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